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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ESTÉE LAUDER COSMETICS LTD.         )
and MAKE-UP ART COSMETICS INC.,     )
                                    )
            Plaintiffs,             )                Case No. 20-cv-3738
                                    )
      v.                            )                Hon. Steven C. Seeger
                                    )
CHINESE QUALITY STORE, et al.,      )
                                    )
            Defendants.             )
____________________________________)

                     SEALED TEMPORARY RESTRAINING ORDER

       Plaintiffs Estée Lauder Cosmetics Ltd. and Make-Up Art Cosmetics Inc. (together, “Estée

Lauder” or “Plaintiffs”) filed an Ex Parte Motion for Entry of a Temporary Restraining Order

alleging infringements of Plaintiff’s Trademarks by counterfeiters. Specifiically, Plaintiffs allege

that the defendants identified in Schedule A ( the “Defendants”), and using the seller aliases

identified in Schedule A (the “Seller Aliases”), offer to sell, and do sell, counterfeit MAC

products on various websites and third-party platforms. Plaintiffs also allege that Defendants are

not authorized to use the MAC Trademarks and that Plaintiffs have suffered injury through this

unauthorized use. Plaintiffs support their motion with declarations and the accompanying

exhibits. This Court having read the evidence before it hereby GRANTS Estée Lauder’s Ex

Parte Motion of a Temporary Restraining Order against the Defendants listed in the attached

Schedule A.

       The Court further finds that, without adversarial presentation, it has personal jurisdiction

over the Defendants because they directly target their business activities toward consumers in the

United States, including consumers in Illinois. Specifically, Plaintiffs have provided some basis
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to conclude that Defendants may have targeted sales to Illinois residents by setting up and

operating e-commerce stores that target United States consumers using one or more Seller

Aliases, offer shipping to the United States, including Illinois, accept payment in U.S. dollars

and, on information and belief, have sold products using infringing and counterfeit versions of

Plaintiffs’ federally registered trademarks (the “MAC Trademarks”) to residents of Illinois. A

list of the MAC Trademarks is included in the below chart.

 Registration
                          Trademark                               Goods and Services
  Number
  1,642,532                                          For: cosmetics, namely, eye shadow, eye
                                                     make-up remover, eye liner, foundation
                                                     make-up, face powder, lipstick, lip gloss, lip
                                                     shiner, mascara, nail polish, eyebrow pencil,
                                                     rouge, face shimmers, body lotions, moisture
                                                     lotion, moisture tonics, skin cleaner, dusting
                                                     powder, facial moisturizers in class 003.

                                                     For: cosmetic pencil sharpeners in class 016.

                                                     For: cosmetic cases sold empty, cosmetic
                                                     brushes, dusters for applying make-up, lip
                                                     brushes, and cosmetic sponges in class 021.

   3,023,827                  MAC                    For: cosmetic products including lipsticks, lip
                                                     gloss, lip liners, lip balms, eye shadows, eye
                                                     lining pencils, liquid eye liners, eye makeup,
                                                     mascara, eyebrow pencils, artificial eyelashes,
                                                     blushers, bronzers, multi-use cosmetic sticks,
                                                     foundation makeup, pressed powder, loose
                                                     powder, makeup remover, concealers, eye
                                                     palettes, lip palettes, make-up kits, multi-use
                                                     colored creams, powders and gels for use on
                                                     face; nail polish, nail enamel, nail polish
                                                     remover; non-medicated skin care products,
                                                     namely cleansers, exfoliators, toners, eye
                                                     creams, cleansing wipes, moisturizing
                                                     spritzers, tinted moisturizers; fragrances for
                                                     personal use in class 003.

                                                     For: consultation services in the selection and
                                                     use of cosmetics, toiletries and beauty

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Registration
                      Trademark                         Goods and Services
 Number
                                           treatment in class 044.

 3,237,448              MAC                For: carry-all bags; clutch bags; cosmetic
                                           bags sold empty; roll bags; travelling bags;
                                           waist bags in class 018.

                                           For: cosmetic brushes in class 021.

 4,184,695                                 For: carry-all bags, cosmetic bags sold empty,
                                           shoulder bags, tote bags, clutch bags and
                                           travel bags in class 018.

 2,207,315           STUDIO FIX            For: cosmetics, namely, make-up foundation
                                           in class 003.

 3,347,789                                 For: non-medicated skincare preparations in
                                           class 003.



 2,369,642           VIVA GLAM             For: lipstick in class 003.

 3,469,550       TECHNAKOHL LINER          For: cosmetics in class 003.

 3,516,371          MINERALIZE             For: cosmetics in class 003.

 3,561,063           FLUIDLINE             For: cosmetics in class 003.

 3,599,599          DAZZLEGLASS            For: cosmetics in class 003.

 3,636,203          CREMESHEEN             For: cosmetics in class 003.

 3,901,933     MAC HAUTE & NAUGHTY For: cosmetics in class 003.
                      LASH
 4,022,031         MAKE-UP ART     For: cosmetics in class 003.
                    COSMETICS
 4,372,062           VELUXE        For: cosmetics in class 003.

 4,645,887         PATENTPOLISH            For: cosmetics in class 003.

 5,131,032          RETRO MATTE            For: cosmetics in class 003.




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       The Court also finds that issuing this Order without notice pursuant to Rule 65(b)(1) of

the Federal Rules of Civil Procedure is appropriate because Estée Lauder has made a prima facie

showing that satisfies the requirements of an ex parte Temporary Restraining Order.

Specifically, the facts in the Declaration of Gregg Marrazzo [14], paragraphs 19-24, and the

Declaration of Justin R. Gaudio [13], paragraphs 5-7, and accompanying evidence show that

immediate and irreparable injury, loss, or damage will result to the movant before the adverse

party can be heard in opposition. In the absence of an ex parte order, Defendants could and

likely would move any assets from accounts in financial institutions under this Court’s

jurisdiction to offshore accounts. As other courts have recognized, proceedings against those

who deliberately traffic in counterfeit merchandise are often useless if notice is given to the

adverse party.

       The Court orders as follows:

       1.        Defendants, their officers, agents, servants, employees, attorneys, and other

persons in active concert or participation with them are temporarily restrained from:

                 a.     using the MAC Trademarks or any reproductions, counterfeit copies or

                 colorable imitations thereof in any manner in connection with the distribution,

                 marketing, advertising, offering for sale, or sale of any product that is not a

                 genuine MAC product or not authorized by Estée Lauder to be sold in connection

                 with the MAC Trademarks;

                 b.     passing off, inducing, or enabling others to sell or pass off any product as

                 a genuine MAC product or any other product produced by Estée Lauder, that is

                 not Estée Lauder’s or not produced under the authorization, control or supervision




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               of Estée Lauder and approved by Estée Lauder for sale under the MAC

               Trademarks;

               c.      committing any acts calculated to cause consumers to believe that

               Defendants’ products are those sold under the authorization, control or

               supervision of Estée Lauder, or are sponsored by, approved by, or otherwise

               connected with Estée Lauder;

               d.      further infringing the MAC Trademarks and damaging Estée Lauder’s

               goodwill; and

               e.      shipping, delivering, holding for sale, transferring or otherwise moving,

               storing, distributing, returning, or otherwise disposing of, in any manner, products

               or inventory not manufactured by or for Estée Lauder, nor authorized by Estée

               Lauder to be sold or offered for sale, and which bear any of Estée Lauder’s

               trademarks, including the MAC Trademarks, or any reproductions, counterfeit

               copies or colorable imitations thereof.

       2.      Defendants shall provide to Estée Lauder copies of all documents and records in

such person’s or entity’s possession or control relating to:

               a.      the identities and locations of Defendants, including all known contact

               information and any and all associated e-mail addresses; and

               b.      the nature of Defendants’ operations and all associated sales, methods of

               payment for services and financial information, including, without limitation,

               identifying information associated with the Online Marketplaces and Defendants’

               financial accounts, as well as providing a full accounting of Defendants’ sales and

               listing history related to their respective Online Marketplaces.



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       3.      Any third party with actual notice of this Order who is providing services for any

of the Defendants, including, but not limited to, any online marketplace platforms such as eBay,

Inc. (“eBay”), AliExpress, Alibaba Group Holding Ltd. (“Alibaba”), Amazon.com, Inc., and

ContextLogic, Inc. d/b/a Wish.com (“Wish.com”) (collectively, the “Third Party Providers”)

shall, within ten (10) calendar days after receipt of such notice, provide to Estée Lauder

expedited discovery, including copies of documents and records in such person’s or entity’s

possession or control relating to:

               a.      the identities and locations of Defendants, including all known contact

               information and all associated e-mail addresses; and

               b.      the nature of Defendants’ operations and all associated methods of

               payment for services and financial information, including (if requested) a

               summary of Defendants’ sales and listing history related to their respective Online

               Marketplaces; and

               c.      any financial accounts owned or controlled by Defendants, including their

               agents, servants, employees, attorneys, and any persons acting in concert or

               participation with them, including such accounts residing with or under the

               control of PayPal, Inc. (“PayPal”), Alipay, Wish.com, Alibaba, Ant Financial

               Services Group (“Ant Financial”), and Amazon Pay.

Plaintiffs shall work cooperatively with the Third Party Providers and make reasonable efforts to

ease the burdens imposed by their request for expedited discovery.

       4.      Defendants shall be temporarily restrained from transferring or disposing of any

money or other of Defendants’ assets until further ordered by this Court.




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       5.      PayPal, Alipay, Alibaba, Ant Financial, Wish.com, and Amazon Pay shall, within

five (5) business days of receipt of this Order:

               a.      locate all accounts and funds connected to Defendants’ Seller Aliases and

               Online Marketplaces, including, but not limited to, any financial accounts

               connected to the information listed in Schedule A, the e-mail addresses identified

               in Exhibit 3 to the Declaration of Gregg Marrazzo, and any e-mail addresses

               provided for Defendants by third parties; and

               b.      prevent any such accounts or funds from transferring or disposing of any

               money or other of Defendants’ assets until further ordered by this Court.

       6.      Estée Lauder may provide notice of these proceedings to Defendants, including

notice of the preliminary injunction hearing, service of process pursuant to Fed. R. Civ. P.

4(f)(3), and any future motions, by electronically publishing a link to the Amended Complaint,

the Summons, this Order, all of Plaintiffs’ filings related to any future motion for preliminary

injunction and other relevant documents on a website. Defendants will also provide notice by

sending an e-mail to the e-mail addresses identified in Exhibit 3 to the Declaration of Gregg

Marrazzo and any e-mail addresses provided for Defendants by third parties that includes a link

to said website. The Court directs the Clerk of the Court to issue a single original summons in

the name of “CHINESE QUALITY STORE and all other Defendants identified in the Amended

Complaint” that shall apply to all Defendants. The combination of providing notice via

electronic publication and e-mail, along with any notice that Defendants receive from payment

processors, shall constitute notice reasonably calculated under all circumstances to apprise

Defendants of the pendency of the action and afford them the opportunity to present their

objections.



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       7.      Exhibit 1 to the Complaint [9], the Amended Complaint [10] and Exhibits 1-4

thereto [10-1] - [10-4], Schedule A to the Complaint [8] and the Amended Complaint [10-5],

Plaintiffs’ Motion for Entry of a Temporary Restraining Order [11], Plaintiffs’ Memorandum in

Support of their Motion for Entry of a Temporary Restraining Order [12], the accompanying

Declaration of Justin R. Gaudio [13] and Exhibits 1-4 thereto [13-1] - [13-4], the Declaration of

Gregg Marrazzo [14] and Exhibits 1-3 thereto [14-1], [14-2], [15], Plaintiffs’ Motion for

Electronic Service of Process Pursuant to Fed. R. Civ. P. 4(f)(3) [16], Plaintiffs’ Memorandum in

Support of its Motion for Electronic Service of Process Pursuant to Fed. R. Civ. P. 4(f)(3) [17],

the accompanying Declaration of Justin R. Gaudio [18] and Exhibits 1-2 thereto [18-1], [18-2],

Plaintiffs’ Notification of Affiliates [19], Plaintiffs’ Notice of Claims Involving Trademarks

[20], and this Order shall remain sealed until Plaintiffs file a motion for entry of a preliminary

injunction. Plaintiffs shall file unsealed versions of the above sealed documents using the

CM/ECF system when they file their motion for preliminary injunction.

       8.      Estée Lauder shall deposit with the Court one hundred twenty-six thousand

dollars ($126,000.00) (that is, $10,000 per Defendant), either cash, cashier’s check or surety

bond, as security, which amount was determined adequate for the payment of such damages as

any person may be entitled to recover as a result of a wrongful restraint hereunder, such bond to

be deposited with the Court once in-person civil case hearings resume.

       9.      Any Defendants that are subject to this Order may appear and move to dissolve or

modify the Order as permitted by and in compliance with the Federal Rules of Civil Procedure

and Northern District of Illinois Local Rules.

       10.     This Temporary Restraining Order without notice is entered at 5:00 P.M. on this

17th day of July 2020 and shall remain in effect for fourteen (14) days.



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Date: July 17, 2020

                                            Steven C. Seeger
                                            United States District Judge




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ESTÉE LAUDER COSMETICS LTD. and MAKE‐UP ART COSMETICS v. CHINESE QUALITY STORE,
                           et al., - Case No. 20-cv-3738


                                 Schedule A
No. Seller Aliases                           No. Seller Aliases
  1 Chinese quality Store                      2 Ai Makeup Store
  3 Makeup Wonderland Drop Shipping            4 4992207-YANG Store
    Store
  5 Beautiful Life Diary Store                 6   Beautiful Voice Makeup Store
  7 Co-co 859 Store                            8   Huyoyo Store
  9 JasonShop Store                           10   Love Beauty Life Store
 11 Magical Moment Store                      12   Makeup Life Store
 13 Minl makeups Store                        14   Ms. Bearose Store
 15 MSSugar Muswanna Store                    16   PLSELF Store
 17 Q&X Make up Store                         18   Run Beauty house
 19 Sexy brief Store                          20   ShenZhen five Store
 21 ShenZhen Foonbe Cosmetic Co.,Ltd.         22   Shop3180011 Store
    Store
 23 Shop4600016 Store                         24   Shop4988135 Store
 25 Shop4998250 Store                         26   Shop5068311 Store
 27 Shop5081095 Store                         28   Shop5084074 Store
 29 TRENDY GIRL Store                         30   VEEK Esthetic Salon Store
 31 001 Beautiful Woman Store                 32   66 MAKEUP PRODUCTS Store
 33 A Global Makeup Store                     34   A Women Daily Store
 35 Azerion Boutique Store                    36   Beautiful YYP Store
 37 beautybeauty Store                        38   Celina's Love Store
 39 Codomaster Store                          40   CoolLadies Store
 41 DAYFULI Magical Store                     42   Dreamlikeer Store
 43 Fantasy Protagonist Store                 44   GlamourJ Store
 45 Hermos Findings Store                     46   HG New Makeup Store
 47 Junior Shop Store                         48   May A May Store
 49 mdjs8f Store                              50   Metamorphosis. Store
 51 Na-tural Beauties Store                   52   Nightingale ShoppingMall Store
 53 Outdoor Lifes Store                       54   Prtty Girl Store
 55 Shop3622096 Store                         56   Shop4969086 Store
 57 Shop5020084 Store                         58   Shop5030013 Store
 59 Shop5039270 Store                         60   Shop5040262 Store
 61 Shop5042169 Store                         62   Shop5051314 Store
 63 Shop5058041 Store                         64   Shop5062283 Store

                                        10
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No.   Seller Aliases                                No.   Seller Aliases
 65   Shop5067173 Store                              66   Shop5077337 Store
 67   Shop5716072 Store                              68   SHOPYJHZP Store
 69   Trendy World Store                             70   Umbrella Makeup Store
 71   VERUCA'S Makeup Store                          72   wytfdl Store
 73   Yajie Store                                    74   Your Dreamy Makeup Store
 75   Shouhengda                                     76   2018hezhaoxinfeng1
 77   bead-007                                       78   better-shop777
 79   fashion-space7                                 80   huang810415
 81   nice-seller77                                  82   niveg
 83   sungift                                        84   acemotor2015
 85   cheers_us                                      86   jewelry-panbeads
 87   nicetomeetyou20                                88   xiamenshuxinfushi8
 89   Abigale7                                       90   Anstruther
 91   bacardi                                        92   bestqualityforever2
 93   bluehouses                                     94   buhao
 95   Buy_Easy                                       96   CCBC
 97   Chao Xiu mobile phone shell shop               98   chenshengyi1114
 99   Enhanced Beauty Shop                          100   eridu830
101   fafayou                                       102   Fashion Garment Wholesale
103   godess                                        104   hailinzhu
105   HLLIGHT                                       106   huangyudianpu
107   Lakely                                        108   LeGee
109   lishp                                         110   Make you a beautiful world
111   nanjinglizhuozichanguanliyouxiangongsi        112   pecos580
113   Personality Commodity Store                   114   prettywomen
115   qiaogeli_store                                116   rxhjessica
117   Sinoco Intrernatinal                          118   Sun Flower1025
119   tianyi58                                      120   VIPP
121   xinshijuefushi                                122   yanyan2017
123   You Yong Store                                124   youknowit
125   YWSPORT                                       126   zhaojing017


No.   Online Marketplaces                           No.   Online Marketplaces
  1   aliexpress.com/store/4704037                    2   aliexpress.com/store/5072241
  3   aliexpress.com/store/5142075                    4   aliexpress.com/store/4992207
  5   aliexpress.com/store/2497051                    6   aliexpress.com/store/5044301
  7   aliexpress.com/store/4973035                    8   aliexpress.com/store/2655083
  9   aliexpress.com/store/5069159                   10   aliexpress.com/store/3877066
 11   aliexpress.com/store/5003092                   12   aliexpress.com/store/512258


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No.   Online Marketplaces                      No.   Online Marketplaces
 13   aliexpress.com/store/2931086              14   aliexpress.com/store/5043167
 15   aliexpress.com/store/5065090              16   aliexpress.com/store/5008049
 17   aliexpress.com/store/5045130              18   aliexpress.com/store/1829106
 19   aliexpress.com/store/1850788              20   aliexpress.com/store/2814070
 21   aliexpress.com/store/234669               22   aliexpress.com/store/3180011
 23   aliexpress.com/store/4600016              24   aliexpress.com/store/4988135
 25   aliexpress.com/store/4998250              26   aliexpress.com/store/5068311
 27   aliexpress.com/store/5081095              28   aliexpress.com/store/5084074
 29   aliexpress.com/store/5034107              30   aliexpress.com/store/5003272
 31   aliexpress.com/store/2780228              32   aliexpress.com/store/5125072
 33   aliexpress.com/store/5373161              34   aliexpress.com/store/3239068
 35   aliexpress.com/store/1953006              36   aliexpress.com/store/2983021
 37   aliexpress.com/store/4962034              38   aliexpress.com/store/2227153
 39   aliexpress.com/store/4284034              40   aliexpress.com/store/5075105
 41   aliexpress.com/store/3263034              42   aliexpress.com/store/5065066
 43   aliexpress.com/store/5239193              44   aliexpress.com/store/5075082
 45   aliexpress.com/store/4968101              46   aliexpress.com/store/5481039
 47   aliexpress.com/store/2217142              48   aliexpress.com/store/5089066
 49   aliexpress.com/store/5079039              50   aliexpress.com/store/4798001
 51   aliexpress.com/store/3221072              52   aliexpress.com/store/1775579
 53   aliexpress.com/store/5244283              54   aliexpress.com/store/2800078
 55   aliexpress.com/store/3622096              56   aliexpress.com/store/4969086
 57   aliexpress.com/store/5020084              58   aliexpress.com/store/5030013
 59   aliexpress.com/store/5039270              60   aliexpress.com/store/5040262
 61   aliexpress.com/store/5042169              62   aliexpress.com/store/5051314
 63   aliexpress.com/store/5058041              64   aliexpress.com/store/5062283
 65   aliexpress.com/store/5067173              66   aliexpress.com/store/5077337
 67   aliexpress.com/store/5716072              68   aliexpress.com/store/5637050
 69   aliexpress.com/store/1873224              70   aliexpress.com/store/5383072
 71   aliexpress.com/store/5015029              72   aliexpress.com/store/5080011
 73   aliexpress.com/store/5427343              74   aliexpress.com/store/3245075
 75   amazon.com/sp?seller=A3JKYRUI6OJQ         76   ebay.com/usr/2018hezhaoxinfeng1
      KX
 77   ebay.com/usr/bead-007                     78   ebay.com/usr/better-shop777
 79   ebay.com/usr/fashion-space7               80   ebay.com/usr/huang810415
 81   ebay.com/usr/nice-seller77                82   ebay.com/usr/niveg
 83   ebay.com/usr/sungift                      84   ebay.com/usr/acemotor2015
 85   ebay.com/usr/cheers_us                    86   ebay.com/usr/jewelry-panbeads
 87   ebay.com/usr/nicetomeetyou20              88   ebay.com/usr/xiamenshuxinfushi8



                                          12
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No. Online Marketplaces                      No. Online Marketplaces
 89 wish.com/merchant/5a9684cf6be8731         90 wish.com/merchant/56c342a7af6cbb1
    a94081fc5                                    169cb32ca
 91 wish.com/merchant/596320eb48912c          92 wish.com/merchant/57baee68a3ae9a0
    72c0b9ce23                                   72ccbf776
 93 wish.com/merchant/5aa12b3cb722cf7         94 wish.com/merchant/581ec551c96e4b1
    cd33814c9                                    b66a2412e
 95 wish.com/merchant/57494346232ca0          96 wish.com/merchant/595f42fc905fdb02
    5cbe15c5ec                                   1d6cc065
 97 wish.com/merchant/5b953149c97970          98 wish.com/merchant/58d25d613ae669
    2ec0c9d6e0                                   53729b2935
 99 wish.com/merchant/595d9860d44a9b         100 wish.com/merchant/58d4fd45236c0c5
    4b870f4670                                   4a709bba2
101 wish.com/merchant/560b498bb1167a         102 wish.com/merchant/56093255c079a82
    0d452a5e63                                   f6162172c
103 wish.com/merchant/57985c35629c38         104 wish.com/merchant/59119cbf2da1ba7
    302ab3eb69                                   da80c9730
105 wish.com/merchant/5806c8c91556b0         106 wish.com/merchant/581c832abfa9fd7f
    0d9e586d5c                                   a41f8459
107 wish.com/merchant/5681075a9a609f         108 wish.com/merchant/589da71bae9884
    2f203ca556                                   598cb7018d
109 wish.com/merchant/59671e14289435         110 wish.com/merchant/5724b96482ad38
    0317132b78                                   5931678dd7
111 wish.com/merchant/565fe9b9769a56         112 wish.com/merchant/58d8c6cffe30c255
    29b8fca06a                                   5e44d838
113 wish.com/merchant/56f91759fe76cc5        114 wish.com/merchant/530c954cbb72c52
    874ac40bc                                    e3bd3372d
115 wish.com/merchant/5a0025347b584e         116 wish.com/merchant/580eefcbf9414f19
    0c48f292ef                                   5fd3b423
117 wish.com/merchant/556538451aa1b9         118 wish.com/merchant/58c8fd8b9985885
    1b6ef61146                                   0e51476e9
119 wish.com/merchant/596764002eac11         120 wish.com/merchant/576cd7e1316b0d
    4dc6143618                                   6b94878442
121 wish.com/merchant/580eeb879858a1         122 wish.com/merchant/596764c6d4cc342
    1ae358b51c                                   b29821ee3
123 wish.com/merchant/5b756e05bee822         124 wish.com/merchant/58a801f10f4dcf6f
    165134e7a6                                   0cc7a4ce
125 wish.com/merchant/57fe06d0cf8ad45        126 wish.com/merchant/58c4e1eaffcbce51
    4656d4c16                                    088613de




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